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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                      Criminal No. 20-CR-232 (35) JRT/DTS

                      Plaintiff,
                                                       DEFENDANT
 v.                                            BALLAM HEZEAKIAH DUDLEY’S
                                                   POSITION REGARDING
 Ballam Hezeakiah Dudley,                              SENTENCING

                      Defendant.


                                   INTRODUCTION

         Defendant Ballam Hezeakiah Dudley urges this Court to sentence him to time

served. He acknowledges his mistakes as an employee of Central Subscription Services

and West Side Readerz (together herein “West Side”), and he regrets the financial

hardships caused by his conduct as a telemarketer there. Dudley hopes that the Court

understands his circumstances as an ex-offender that pressed him to work at West Side;

recognizes his efforts during the last ten years to break away from his criminal past; and

fashions a sentence that fosters his ambitions to pursue lawful and productive employment

in the automotive sector. A time served sentence would also be consistent with the Court’s

treatment of other telemarketers in this case, whose roles in the magazine subscription

companies—as conceded by the Government—were minimal and subordinate to the

masterminds, managers, and profiteers of the fraudulent scheme.




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I.       FACTUAL BACKGROUND

         A.        Dudley’s family, education and employment.

         Ballam Hezeakiah Dudley, a Black male, was born on February 25, 1986, in

Minneapolis. Dudley is the only child of Dr. William N. Dudley and Terri Dudley (both

Black); each of his parents had a prior marriage but no other children. They later divorced

when Dudley was 13. Both parents were born and grew up in the South under Jim Crow

segregation. Dudley’s father (age 91), the first licensed Black veterinarian in Minnesota,

now lives in a modest, older home in Plymouth. His mother (age 71) was a flight attendant

with Northwest Airlines before leaving her job to raise her son.

         The elder Dudley also owned commercial property in Brooklyn Center where he

leased space to an auto mechanic. As a youngster, Dudley spent time after school in his

father’s clinic and frequented the adjoining mechanic’s garage where he developed his

interest in automobiles. The elder Dudley involved his son in many activities, and instilled

in him the importance of education and hard work as the prerequisites to financial success.

         Dudley attended elementary and secondary school in Robbinsdale and graduated

from Armstrong High School in 2004. He enrolled at North Dakota State College of

Science in Wahpeton for one year, and then transferred to North Dakota State University

in Fargo for his sophomore and junior years. Dudley did not complete college; he became

distracted by his use of marijuana which started in high school. At NDSU, he was first

arrested for marijuana possession off campus.         He transferred to Minnesota State

University Moorhead, but while there, he was arrested in Douglas County for possessing

three pounds of marijuana. Dudley later enrolled at Hennepin County Community College

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for two semesters, but was arrested again in North Dakota for possessing three pounds of

marijuana.         Dudley sold marijuana to repay a debt to another supplier and later to

supplement his ability to buy and smoke it, but “it ended up kind of just snowballing after

that.”

         Dudley never secured a full-time job initially because he was encouraged by his

father to complete college. However, his drug-related activities interrupted his education

and became obstacles to employment. “I guess in some ways I’ve always had to just be

hustling from either mowing lawns and plowing or doing some property management with

some people. And they could never put me on the payroll.” Dudley earned sporadic

income by performing work for his father (e.g., accounting and irrigation projects) and had

several jobs in construction, property management, and retail sales (e.g., at Abercrombie

Fitch clothing stores at Rosedale and Ridgedale malls). But as a Black male ex-offender,

his record of drug offenses became an obstacle to full-time employment.

         As a result, Dudley continued to resort to self-employment. In recent years, Dudley

worked at ASAP Automotives, an auto mechanics shop in Fayetteville, Arkansas. Dudley

is also a self-employed auto dealer; he is an owner and operator of 612 Auto Sales, LLC,

an automobile dealership he incorporated in February 2019 in Minnesota. His business—

based upon the Carvana model—is to identify customers in need of reliable, affordable

cars and then to locate and deliver the cars directly to the customers.

         B.        Involvement with magazine subscription sales.

         Dudley began working as a magazine telemarketer in 2010, when he was introduced

to West Side by Andrew Landsem, a friend since childhood. At the time, Dudley was

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performing roofing work for a subcontractor, but his probation officer insisted that he

obtain W-2 employment. Dudley had no prior experience in telemarketing, magazine sales,

or employment in a commercial office. But he was comfortable working at West Side

because he saw familiar faces there and the work kept him out of trouble. Dudley also

needed money, and his probation required that he maintain a steady job in a structured

setting “with a boss.” Dudley’s long-term professional interest remains with automobiles.

“West Side was a part-time thing for me. I was really chasing other things, because

telemarketing is something that I have no passion for.”

         Dudley first met Jared Michelizzi three months after Dudley started at West Side,

and discovered later that Michelizzi owned the business. Dudley started as a salesperson

making the opening calls to magazine customers.           But later, after the departure of

West Side’ leading closer Daniel Kallhof in 2018, Dudley, became a closer responsible for

engaging the customer—using a standard script prepared by Michelizzi—to confirm a sale

with a credit card charge. He worked there about 20 hours per week, earning $13/hour and

a commission of $5 per sale. During the years 2012 through 2019, Dudley’s wage and

commission income was as follows:

                                   Year    Gross Income
                                   2012     14,776.37
                                   2013     11,368.75
                                   2014        578.50
                                   2015      6,644.25
                                   2016     21,071.00
                                   2017     30,156.00
                                   2018     40,194.25
                                   2019     23,058.52
                                   Total   147,847.64


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See Trial Exhibits Dudley-011 through Dudley-018. By comparison, Kallhof earned

$585,288.66 between 2012 and his departure in 2018.

         In March 2013 while at West Side, Dudley was arrested for selling three grams of

cocaine to a confidential informant in September and October 2012, leading to his third

felony conviction resulting in a 14-month incarceration at MCF-Faribault. After release,

Dudley continued to seek full-time employment, but his criminal record remained a

problem. For example, his application to work at a Target distribution center was denied

after a background check; the recency of his criminal convictions barred his hire. But he

was welcomed back at West Side. Dudley also worked briefly (during a 2016 vacation)

for another Michelizzi-owned magazine company in San Diego, Pacific Beach Club

Readers. In September 2018, Dudley moved to Fayetteville to live with his fiancé

Ali McEntire, who was also employed by West Side and worked alongside Dudley

remotely.1

         C.        Pending federal criminal proceeding.

         This criminal action commenced in October 2020 with a 53-count indictment

charging Dudley and 42 other defendants with a single, nationwide conspiracy to commit

mail fraud in the telemarketing of magazine subscriptions. The Indictment alleged that

Dudley’s role was that of a telemarketer only, conducting sales for West Side from the

Fridley call center and his home in Fayetteville. There is no allegation that Dudley was


1
 McEntire met Dudley several years ago at a music festival in Arkansas. With Dudley’s
help and support, McEntire has successfully pursued her real estate broker licensure.
Although the pending proceeding has disrupted the couple’s relationship, McEntire has
submitted a letter to the Court on Dudley’s behalf.

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involved with any other company or interacted with any other defendant beyond those

associated with West Side.

         During the relevant time period, West Side employed more than 350 individuals,

the vast majority of them as telemarketers who engaged in substantially similar conduct to

Dudley: calling a pre-made lead list and reading from a standardized sales script. Of this

sizeable workforce, the Government elected to indict Dudley because he was recorded

three times on audiotaped telephone calls confirming magazine subscriptions with

Government undercover agents. There was no evidence demonstrating that Dudley held

any ownership, managerial, or supervisory role at West Side, or that he received any

financial profit beyond his hourly wage and commissions.

         Dudley rejected pretrial plea agreement offers from the Government, the last of

which recommended a sentence of time served. Instead, he stood trial last fall and testified

in his own defense. The jury returned verdicts on November 4, 2023, finding Dudley guilty

of Count 1 (conspiracy to commit mail fraud), Count 6 (mail fraud), and Counts 23 and 41

(wire fraud). Dudley’s Presentence Investigation Report (“PSR” or “Report”) has been

completed and he now awaits sentencing scheduled for July 1, 2024.

         Amplifying the remorse that he expressed at trial (Trial Transcript (“Tr.”), Vol. XVI

at 3724), Dudley has accepted responsibility for his conduct and the financial harm that it

caused (PSR at ¶116):

         I am very sorry for the harm caused by my work as a telemarketer for
         Jared Michelizzi’s magazine companies. As I testified at trial, I feel terrible
         that my conduct caused financial hardship and pain to so many people. I
         regret it and accept responsibility for it. I was one of many telemarketers
         who worked for Michelizzi. I read the script that I was provided when talking

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         to the customers whose names he provided to me. At trial, I learned about
         the wider scheme among magazine company owners and lead brokers that
         resulted in millions of dollars taken by fraud. I did not profit from this
         scheme beyond the modest wages and commissions I earned from calling
         customers. I am angry that I was used to facilitate this fraud. In hindsight, I
         wish that I had asked more questions or that someone would have told me
         what was really happening. I would never have knowingly chosen to work
         for a company that hurt so many people. I was working hard to turn my life
         around, and I am still committed to being a productive and law-abiding
         member of society.

II.      OBJECTIONS TO THE GUIDELINE CALCULATION

         A.        Offense level and loss calculation.

         Dudley objects to the Report’s §2B1.1 loss calculation of $7,355,126. This amount

substantially overstates the amount of loss attributable to Dudley because it includes

transactions conducted by Michelizzi’s Minnesota-based companies in which Dudley had

no involvement. Dudley should not be sentenced based on losses he did not cause.

         The Court should look to amounts actually paid by consumers when determining

the appropriate amount of loss for its sentencing calculation. USSG §2B1.1 Application

Note 3(A)(iv) defines “reasonably foreseeable pecuniary harm” as “pecuniary harm that

the defendant knew or, under the circumstances, reasonably should have known, was a

potential result of the offense.” The district court should “not automatically hold an

individual defendant responsible for losses attributable to the entire conspiracy, but rather

must identify the loss that fell within the scope of the defendant’s agreement with his co-

conspirators and was reasonably foreseeable to the defendant.” United States v. Treadwell,

593 F.3d 990, 1002 (9th Cir. 2010). As the Ninth Circuit explained:




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         Knowledge of “another participant’s criminal acts is not enough to hold the
         defendant responsible for those acts,” United States v. Studley, 47 F.3d 569,
         575 (2d Cir. 1995), and knowledge of a conspiracy’s overall objectives does
         not make the defendant accountable for all the coconspirators’ acts furthering
         those objectives. In the telemarketing context, “the scope of a joint
         undertaking for sentencing purposes depend[s] on whether the telemarketers
         ‘worked together,’ ‘relied on one another to make a sale,’ attended the same
         sales meetings, and ‘depended on the success of . . . the operation as a whole
         for their financial compensation.’” Treadwell, 593 F.3d at 1005 (quoting
         Blitz, 151 F.3d at 1013).

United States v. Lloyd, 807 F.3d 1128, 1142-43 (9th Cir. 2015).

         In Lloyd, the court concluded that a telemarketer should not be liable for fraudulent

sales made by a coconspirator because he did not design or develop the overall scheme,

did not pool resources with the other boiler-room, and did not share proceeds with the other

boiler-room. 807 F.3d at 1144-1145. The court analogized it to the example given in the

Illustrations to §1B1.3:

         [A] dealer who sells to his own customers, in his own territory, and does not
         share information, other resources, or profits with other dealers who have
         their own territories and customers, is not engaged in jointly undertaken drug
         dealing with the other dealers and is not accountable for the drugs they sell.
         That is true even if the first dealer knows about the other dealers and who
         they are and knows that the drugs come from the same supplier. Similarly,
         even if the first street-level drug dealer knows that the person who recruited
         him to sell drugs also recruited the other dealers for the same purpose, the
         first dealer is generally accountable only for the drugs he sells. §1B1.3,
         comment. n.2, Illustration (c)(7).”

Lloyd, 807 F.3d at 1142.

         The same is true here. Dudley did not design the telemarketing scheme. He did not

have contact with anyone in the conspiracy outside of the company where he was

employed. He did not share information or resources with anyone; he used the scripts and

leads he was provided by his employer to do his job. He did not write the scripts or procure

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leads. He did not supervise or train his coworkers. He did not share profits with his

employer, let alone his coworkers or other alleged members of the conspiracy. He was

paid an hourly wage. Sales completed by others were not reasonably foreseeable to

Dudley, and he should not be attributed a loss amount that he could not have foreseen or

controlled.

         Moreover, Dudley was one of more than 350 people who worked for one of

Michelizzi’s companies at some point over the years. (Tr., Vol. X at 2128; Trial Exh.

Dudley-021.) The amount of loss attributable to Dudley should not include sales made by

anyone other than himself. The PSR’s §2B1.1 loss amount would hold him responsible

for the sales conducted by hundreds of other employees, nearly all of whom were not

charged in the case.

         Instead, the maximum loss amount the Court should apply is the paid on contract

amounts received by Michelizzi’s Minnesota-based companies for transactions in which

Dudley was a salesperson, closer, or verifier. That total is $1,347,319.38, which is based

on sales transaction data recorded on PSOnline and admitted at trial by the Government as

Exhibits P020a and P020e:

                          Trial Exh. No.    Amount Paid
                          P020a (1)           138,761.75
                          P020a (2)           275,121.18
                          P020a (3)           933,008.05
                          P020a (4)               -
                          P020e                   428.40
                          Total             1,347,319.38




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(See ECF 2211-6, Lewis Dec., Exh. E (Declaration of Sarah Didrickson).) This is the

maximum amount of loss which could be attributed to conduct by Dudley.

         B.        Role in offense adjustment.

         The §3B1.2 adjustment for the role in the offense should be adjusted further

downward to a 4-level increase as Dudley was a minimal participant. The commentary to

§3B1.2(a) describes a minimal participant:

         Subsection (a) applies to a defendant described in Application Note 3(A) who
         plays a minimal role in concerted activity. It is intended to cover defendants
         who are plainly among the least culpable of those involved in the conduct of
         a group. Under this provision, the defendant’s lack of knowledge or
         understanding of the scope and structure of the enterprise and of the activities
         of others is indicative of a role as minimal participant.

USSG §3B1.2, comment (n.4). The commentary to the guideline also provides a list of

five factors to be considered in determining the amount of the mitigating role adjustment:

         (i)       the degree to which the defendant understood the scope and structure
                   of the criminal activity;
         (ii)      the degree to which the defendant participated in planning or
                   organizing the criminal activity;
         (iii)     the degree to which the defendant exercised decision-making
                   authority or influenced the exercise of decision-making authority;
         (iv)      the nature and extent of the defendant’s participation in the
                   commission of the criminal activity, including the acts the defendant
                   performed and the responsibility and discretion the defendant had in
                   performing those acts;
         (v)       the degree to which the defendant stood to benefit from the criminal
                   activity.

USSG §3B1.2, comment (n.3(C)); see United States v. Rodriquez, 44 F.4th 1229, 1234-37

(9th Cir. 2023)(applying five factors).

         Application of the above factors demonstrates that Dudley was a minimal

participant deserving a full mitigating adjustment.          Dudley’s role was solely as a

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telemarketer for Michelizzi’s Minneapolis-based companies, and the evidence failed to

demonstrate his knowledge of any scheme beyond his job function.                 Nor did the

Government prove any association between Dudley and other owners or lead brokers

beyond Michelizzi. Dudley certainly was not involved in the planning or organization of

the scheme, and he did not exercise in decision-making or management. Likewise,

Dudley—in simply calling customers from scripts supplied by his employer—had no

authority and exercised no discretion in performing his job duties. Finally, Dudley had no

proprietary interest in the profits from the magazine fraud scheme; he worked for an hourly

wage and commissions while his co-defendants made millions.

III.     GROUNDS FOR DEPARTURE FROM THE GUIDELINES

         A.        The offense level substantially overstates the seriousness of Dudley’s
                   offense.

         The PSR adopted the Government’s proposed loss figure of $7,355,126. (PSR at

¶108.) As the Report noted, however, this figure may overstate the loss caused by Dudley’s

conduct:

         Pursuant to USSG §2B1.1, comment. (n.21(C)), there may be cases in which
         the offense level determined under this guideline substantially overstates the
         seriousness of the offense. In such cases, a downward departure may be
         warranted. An example is provided of a case with “substantial but diffuse”
         aggregate loss amount, where “relatively small loss amounts suffered by a
         relatively large number of victims…may combine to produce an offense
         level that substantially overstates the seriousness of the offense.” While not
         perfectly aligned with the circumstances in this case, the undersigned would
         note that, while the government contends the loss amount is greater than
         $3,500,000, which resulted in an 18-level increase for loss as well as 6 levels
         of victim enhancements, the government and several defendants in this case
         with comparable involvement agreed to restitution amounts of $100,000 or
         less. If the Court believed this combination of loss and victim enhancements
         substantially overstated the seriousness of the offense and considered a

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         $100,000 loss amount as a more commensurate representation of Dudley’s
         culpability under this departure provision, the resulting departure range
         would be 57 to 71 months (total offense level of 19, based on an 8-level loss
         enhancement instead of 18, and criminal history category V).

(PSR at ¶ 217.) A loss calculation based on Dudley’s sales of $1,347,319.38—which

would result in a 14-level increase under § 2B1.1(b)(1)(H)—also grossly overstates

Dudley’s role and the seriousness of his conduct.

         Although the overall conspiracy caused significant loss to many people over many

years and resulted in substantial earnings, those earnings were isolated to the company

owners and lead brokers. Michelizzi made millions off the scheme he helped orchestrate;

Dudley made a modest hourly wage and commissions.                Dudley earned a total of

$147,847.64 during his last eight years at West Side. See discussion supra. He did not

reap significant profits off fraudulent magazine sales, and thus should not be charged with

a loss amount suggesting he did. See United States v. Huber, 462 F.3d 945, 952 (8th Cir.

2006) (affirming district court’s downward departure on loss amount calculation based on

relatively small net profits gained from money laundering scheme).

         Accordingly, Dudley asks the Court to depart from the guideline calculation and

accept the alternate calculation of $100,000 proposed in the Report at paragraph 217. As

noted, this case reasonably falls within the confines of §2B1.1, comment n.21.(C), which

explains:

         There may be cases in which the offense level determined under this
         guideline substantially overstates the seriousness of the offense. In such
         cases, a downward departure may be warranted.




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         For example, a securities fraud involving a fraudulent statement made
         publicly to the market may produce an aggregate loss amount that is
         substantial but diffuse, with relatively small loss amounts suffered by a
         relatively large number of victims. In such a case, the loss table in subsection
         (b)(1) and the victims table in subsection (b)(2) may combine to produce an
         offense level that substantially overstates the seriousness of the offense. If
         so, a downward departure may be warranted.

         Dudley was a telemarketer.       Using scripts prepared and provided to him by

Michelizzi, Dudley called customers derived from lead lists compiled or purchased by

Michelizzi outside of Dudley’s knowledge. While Michelizzi and others in the scheme

earned millions from their fraud, Dudley made comparatively little. While some victims

admittedly incurred thousands of dollars in losses due to the fraudulent sales from many

companies, Dudley was not responsible for thousands of dollars in fraudulent sales to any

one customer. (See, e.g., Trial Exhs. A009, A010 showing sales to Jonathan Petersen

attributable to Dudley of $717.60 out of $23,004.57; Trial Exhs. A013, A014, P021a p. 17

showing Dudley was the opener for $1,196.00 of the $27,833.47 in sales to Joseph Leahy,

while Kallhof, who was not charged, was the closer; Trial Exhs. A016, A017 showing

Dudley was responsible for zero of the $60,078.58 in sales to Penny Mashburn; Trial Exhs.

A022, A023 showing Dudley was involved in $1,166.20 of $29,180.84 in sales to Phyllis

Schreier.) This is precisely the sort of diffuse loss resulting in relatively small amounts to

multiple victims that warrants a downward departure.

         A reduced loss amount is also reasonably supported by the evidence. Trial Exhibits

P21 and P21a identified each initial order transaction in which Dudley was the salesperson,

closer, or verifier. The total for the transactions identified in those spreadsheets is

$181,317. (See ECF 2211-6, Lewis Dec., Exh. E at ¶2 (Didrikson).)

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         Based on the reduced loss amount between $95,000 - $150,000, Dudley requests

that the Court apply §2B1.1(b)(1)(F) and conclude that the level increase should not exceed

10 levels, resulting in a base offense level of 19.

         B.     Criminal History Category V substantially over-represents the
         seriousness of Dudley’s criminal history or the likelihood that he will commit
         other crimes.

         Although Dudley’s criminal history is extended, it is modest in substance and

characterized by street-level drug-related offenses that reveal no propensity to violence or

fraud.

         USSG §4A1.3(b)(1) states:

         STANDARD FOR DOWNWARD DEPARTURE: If reliable information
         indicates that the defendant’s criminal history category substantially over-
         represents the seriousness of the defendant’s criminal history or the
         likelihood that the defendant will commit other crimes, a downward
         departure may be warranted.

         In the context of upward departures, the Guidelines note that the nature, and not the

sheer number of prior offenses may be more indicative of the seriousness of the defendant’s

criminal record. See USSG §4A1.3, comment. (n.2(B). The Court should likewise

evaluate the nature of Dudley’s prior convictions in assessing whether to depart downward.

         Such an assessment, as noted in the PSR, reveals that Dudley’s criminal history

principally involved the possession and sale of marijuana, resulting in two misdemeanor

and two felony convictions. A third felony conviction in 2014 was the result of the sale in

fall 2012 of a small quantity of cocaine to an informant (3 grams of cocaine for $240), and

it is the only conviction that resulted in a significant custodial sentence (Dudley served 14

months of a 24-month sentence). None involved the threat or use of violence or a firearm.

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Notably, until this federal proceeding, Dudley had never been charged with an offense

involving fraud or dishonesty.

         The November 2023 amendment to the Commentary to USSG §4A1.3 states that a

downward departure may be warranted when the defendant received criminal history points

for possession of marijuana for personal use. USSG §4A1.3, comment. (n.3(A)(ii)).

Dudley’s 2005 and 2006 misdemeanor convictions in North Dakota—while Dudley was a

college student there—fall into this category. Moreover, had these offenses occurred in

Minnesota, they would have likely been automatically expunged as part of the state

legislature’s 2023 decriminalization of recreational cannabis use.       See Minn. Stat.

609A.055, subd. 1. Similarly, the impact of Dudley’s 2008 Dakota County conviction

under Minn. Stat. 152.025, subd. 2 may be eligible for review and expungement by the

Cannabis Expungement Board. See Minn. Stat. 609A.06, subd. 3. These marijuana

convictions account for 4 of Dudley’s 12 Criminal History points.

         At bottom, the Category V Criminal History score over-states the likelihood that

Dudley would re-offend. Dudley’s last state criminal conduct occurred more than 12 years

ago when he was 26. The federal conspiracy and fraud offenses for which he will be

sentenced are one-off aberrations as he has no prior history of business misconduct or

dishonesty. Nothing in his criminal record indicates that Dudley is an obvious and growing

danger to society. As the PSR suggests, the Criminal History score should be discounted

and a departure under USSG §4A1.3(b)(1) granted.




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IV.      SECTION 3553(a) FACTORS AND GROUNDS FOR VARIANCE

         A.        The nature and circumstances of the offense (3553(a)(1)).

         As explained above in Dudley’s request for a further USSG §3B1.2 mitigating role

adjustment, Dudley was not a driving force of the fraud. He was among the lower-level

telemarketers who read scripts from an office cubicle with little knowledge of the scope of

the scheme into which they were recruited.               To admittedly plagiarize from the

Government’s own language in its position statements for other minor participants (here

that of Kiley Marie Saindon, ECF No. 2064 at 5-6):

              At the same time, [Dudley] played only a small part in a large-scale fraud.
              [Dudley] did not own or found [West Side Readerz]. What little
              administrative role [he] played at the company amounted to not much
              more than being the longest tenured telemarketer around. [He] did not
              develop the fraud scheme or write or edit the fraudulent scripts. [He] was
              not actively involved in obtaining or trading lead lists. [He] did not meet
              with or trade tips with managers or owners at other companies. [He] did
              not actively respond to Better Business Bureau, Attorneys General, or
              other consumer complaints. Nor did [Dudley] get rich participating in
              the scheme—[he] was only paid a small, hourly wage for [his] work.

         The Government has acknowledged that, to a significant extent, the owners who

formed and operated the companies that perpetrated the nationwide fraud scheme preyed

on ex-offenders to staff the call centers. Telemarketing is a difficult and unattractive job,

and the owners were open to recruiting individuals who—because of lack of education,

criminal histories, or substance abuse issues—were otherwise unemployable. It was a job

of last resort. See United States v. Ivory Denise Alexander (No. 20-231(4) D. Minn.

Nov. 22, 2022)(ECF No. 270 at 14-15)(“Alexander Sentencing”). That was certainly the




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case for Dudley. Michelizzi hired Dudley and others with criminal backgrounds, knowing

that their other employment options were limited. (See Tr. Vol. X at 2144-2145.)

         Michelizzi shared little information about the business with Dudley, and the

surroundings gave Dudley and other telemarketers a false sense of security. Again, to

paraphrase from the Government’s position statement for co-defendant Tara Nichole

Creason:

              [T]he fact that the companies [he] worked for operated an office and call
              center where numerous other telemarketers also worked provided an air
              of legitimacy to an illegitimate, fraudulent company. In many ways, this
              allowed the companies to recruit otherwise well-intentioned individuals
              like [Dudley], who were merely seeking a paycheck, into the fraudulent
              work. This is not an excuse for [Dudley’s] conduct, although it helps
              explain how [he] became involved in it in the first place.

(ECF No. 1545 at 5.) Indeed, at trial, Dudley testified about the comfort he took in working

for the first time in a commercial office building. (Tr. Vol. XVI at 3685-86.)

         Telemarketing was never Dudley’s career objective. But Dudley was keen on

earning a living. West Side was a convenient, part-time employer of last resort which

offered a paycheck when most other employers refused opportunities to ex-offenders (most

often Black males). Because Dudley was articulate and a good, friendly communicator, he

could successfully engage with customers on the phone. West Side provided a steady job

while Dudley was trying to turn his life around, and they welcomed him back even after he

was released from prison in 2014 after his third felony conviction.

         Dudley’s probation officer Daniel Nowack testified at trial regarding Dudley’s

history on probation.       He described some parolees actively trying to avoid gainful

employment—not showing up for interviews, not taking the process seriously, not dressing

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or acting professionally. (Tr. Vol. XVI at 3645-3646.) In contrast, his notes regarding

Dudley indicated that Dudley was doing multiple things for work: working for a lawn and

garden company, part-time sales at the magazine company, some lawn mowing, some snow

plowing. (Id. at 3647; Trial Exh. Dudley-024 at 5.) In fact, he was working so much that

Nowack encouraged him to scale back so he was less stressed. (Id.) As a result, Dudley

focused on work for the magazine company, where he had a boss and a regular schedule.

In a cruel twist of irony and bad luck, it was Dudley’s work ethic that led him to take a

December 2019 holiday shift at West Side, only to pick up the phone to speak with an

undercover agent that led to his prosecution and conviction here.

         B.        The history and circumstances of the defendant (3553(a)(1).

         Dudley grew up in a Twin Cities household with educated parents who clashed,

among other things, over their different visions for their son’s upbringing. After his parents

divorced, Dudley lived primarily with his father, who valued hard work, higher education,

and financial security. Dudley initially pursued college, but his penchant for marijuana

caused him to flounder in class, and he resorted to marijuana sales to pay off a debt and

support himself financially.       Subsequent drug-related arrests interrupted his college

education and eventually interfered with his ability to obtain full-time employment,

housing, and a stable living environment. As he navigated the criminal justice system,

Dudley was receptive to substance abuse and mental health counseling and treatment.

         Dudley clearly wants to pursue a livelihood working with automobiles. During his

last stint in prison, he read books on financial literacy. He formed his own auto business,

612 Auto Sales, where he demonstrated acumen in developing financial credit and

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customer relations.        During his pretrial release in this matter, he was employed in

Fayetteville at ASAP Automotive Services as a service writer and mechanic. He describes

his work there as a “labor of love,” enabling him to learn more about cars and the auto

business.

         Those who know Dudley acknowledge his past mistakes, but recognize that he has

persevered and matured to become a reliable and responsible adult committed to helping

others. Customers, friends, and family members describe him as smart, kind, hard-

working, and supportive. Notably, his fiancé McEntire—whose relationship with Dudley

has suffered as a result of his involvement in this criminal proceeding—describes him as

“a rare gem in this world” who made “an indelible impact on my life, guiding and inspiring

me in ways I never imagined.”

         C.        The seriousness of the offense and just punishment for it (3553(a)(2)(A).

         Dudley does not dispute that “there was a nationwide conspiracy to defraud

hundreds of thousands of victims out of hundreds of millions of dollars for fraudulent

magazine subscriptions.” (See ECF No. 2307 at 4-5 (order on post-trial motions).) He

simply asserts here that the Government has already satisfied the public interest and

achieved justice for the fraud victims. The Government has emphasized that its chief goal

in the investigation and prosecution of dozens of defendants was to shut down the

companies, end the scheme, and deter others from engaging in further fraudulent sales.

(See Alexander Sentencing (ECF No. 270 at 8-13).) The Government also conceded that

the guideline ranges, driven disproportionately by the §2B1.1 loss amount, should not be

the primary factor in sentencing individual defendants.          (Id. at 13.)   Finally, the

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Government acknowledged the subordinate role of the telemarketers—whose educational

and economic disadvantages drove them to employment by the companies—was a

mitigating circumstance. (Id. at 14-15.) Even under the Government’s own criteria, a

harsh punishment of Dudley is not necessary to achieve justice in this case. Nor does

making Dudley “an example” further any deterrence objective.

         D.        Protection of the public from further crimes of the defendant
                   (3553(a)(2)(C).

         Although Dudley has several drug-related convictions, nothing in his record reveals

a propensity for violence. Nor is there evidence of past crimes involving theft, fraud, or

dishonesty prior to the instant offense. Dudley’s third and last felony conviction arose

from a drug sale in October 2012, nearly 12 years ago. He appears to be “aging out” of his

prior pattern of drug offenses. Moreover, during the nearly five years since his indictment

in this case, Dudley has substantially complied with his pretrial release conditions. He has

remained in contact with his probation officers and demonstrated post-trial rehabilitation

efforts, including counseling and group meetings, designed to remain law abiding.

Decidedly, Dudley is not a threat to the public.

         E.        The need for educational or vocational training, medical care, or other
                   correctional treatment (3553(a)(2)(D)).

         As noted in the PSR (at ¶225), Dudley will certainly need additional training,

counseling and advice to secure and maintain meaningful full-time employment.

Moreover, his conviction for a felony involving fraud and dishonesty now presents a

major—perhaps, in the short term, insurmountable—barrier in his quest for success in a



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business sector that requires access to capital. Additional education in advanced financial

literacy will be necessary for Dudley to regain credit and trust.

         To cope with post-trial stressors that impact his mental wellbeing and potential

vulnerability to substance abuse, Dudley has regularly attended “The Mens Group,” a

support group for Black male ex-offenders founded by Ramsey County District Judge

George Stephenson. Continued participation in this support network will guide him toward

a positive trajectory. Dudley is also receptive to other treatment and counseling options

that the Court finds necessary as a condition of supervision.

         F.        The kinds of sentences available (3553(a)(3)).

         Although a sentence of straight probation in this case is barred by statute and USSG

§5B1.1, Dudley is as eligible as other co-defendants for a “time served” sentence. Indeed,

this was the disposition previously offered by the Government in exchange for a change of

plea. (See ECF No. 1889 at 85-86 (pretrial motion hearing).) A wide range of conditions

under supervised release would still be available to the Court that would promote Dudley’s

need for vocational growth and stability. While awaiting trial for nearly five years, Dudley

has already remained effectively and successfully under court supervision.

         G.        The sentencing range for the applicable categories of offense and
                   defendant (3553(a)(5)).

         Dudley has moved for downward departures from the Guidelines sentencing range

pursuant to USSG §§2B1.1, comment (n.21(C) and 4A1.3(b)(1). The grounds for the

motion are stated in Section III supra.




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         H.        The need to avoid unwarranted sentence disparities among defendants
                   (3553(a)(6)).

         Consideration of the Court’s prior sentences of co-defendants in this action,

although not mandated by §3553(a)(6), is still appropriate to avoid extreme disparities

between similarly-situated co-conspirators. See United States v. Merrett, 8 F.4th 743, 753-

54 (8th Cir. 2021). The Government’s recommendations, and the Court’s sentences

imposed to date in this proceeding, have been markedly downward from the those

suggested by the Guidelines and included time-served sentences for the telemarketers:

    Defendant              Role                Guideline Range2      Sentence
    Creason, Tara          Manager             110-137 months        Time served3
    McGarrity, Eric        Telemarketer        151-188 months        Time served4
    Mendizabal, Luis       Telemarketer        97-121 months         Time served
    Moulder, Barbara       Telemarketer        63-78 months          Time served
    Moulder, Rhonda        Manager             188-235 months        6 months
    Patteson, Lucille      Owner               51-63 months          9 months
    Prince, Jessica        Manager             108-135 months        Time served
    Saindon, Kiley         Manager             78-97 months          Time served
    Schlusser, Caitlin     Manager             51-63 months          Time served
    Smoliak, Jeffrey       Telemarketer        168-210 months        Time served5

         As previously stated, the Government’s pretrial plea agreement offer to Dudley was

a recommended sentence of time served, compared to a guideline sentencing range of 151-



2
  The sentencing range reported here is derived from plea agreements and sentencing
position statements on file.
3
  Creason, initially sentenced to 12 months and a day, was resentenced in April 2024 after
providing post-conviction assistance to the Government.
4
  At the time of his June 2023 sentencing, McGarrity had been in custody for more than 21
months after traveling to Mexico in violation of his pretrial release conditions.
5
  Smoliak, initially sentenced to 6 months, was resentenced in June 2023 after providing
post-conviction assistance to the Government.

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188 months. A time served disposition is consistent with the sentences outlined above, and

especially so as Dudley’s role as a telemarketer was less consequential than the call center

managers who have received time served sentences.

         Additionally, it would be contrary to the Sentencing Guideline’s purpose of “just

punishment” to hold Dudley accountable in ways that many of his colleagues were not,

simply because the Government decided not to indict similarly situated coconspirators.

(See USSG Chapter 1, Part A (1)(2) (outlining purposes of Sentencing Reform Act of

1984).) For this reason, the Court should also give weight to the difficult circumstance that

Dudley is being held accountable for, conduct for which many others are not, simply

because of the exercise of prosecutorial discretion in this case. During the relevant time

period, Michelizzi employed more than 350 people at his Minnesota-based magazine

companies, the vast majority of them telemarketers. Of those, only Dudley, Landsem, and

McGarrity6 were charged. Several arguably more serious offenders were given a pass—

despite the fact that they had comparable or more significant roles and their conduct was

well documented—simply because they did not have the misfortune of staffing the auto


6
 McGarrity effectively received a sentence of about 21 months in custody, which may have
been justified since his conduct was more serious than that attributed to Dudley.
McGarrity’s ties to the fraudulent magazine scheme went much deeper as he worked in the
industry for 15 years at seven or eight different companies. (Tr. Vol. V at 812 - 813.) He
previously worked with several co-defendants at those companies, including
Tony Moulder (id. at 815); Michelizzi and Wayne Dahl (id. at 817); Rhonda Moulder (id.
at 818 - 819); Jeff Smoliak, Stacy Persons, and Eric Esherick (id. at 825); and Monica and
Tim Hanssen (id. at 841). Moreover, McGarrity previously owned his own fraudulent
magazine business at one time called Universal Readers. (Id. at 844). And, of course, he
was disadvantaged at sentencing by his disappearance to Mexico in violation of his
conditions of release. McGarrity therefore does not compare favorably to Dudley for
sentencing purposes.

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dial system when the undercover agent was called.7 This basis for drawing the line has

been confirmed by counsel for the Government.              (See, e.g., Alexander Sentencing,

ECF 270 at 12.) As Postal Inspector Western testified at trial:

                   Q. The only reason Mr. Dudley is here and that Mr. McGarrity and
                      Mr. Landsem were charged is because they were recorded talking
                      to undercover agents; is that right?

                   A. That's right.

                   Q. And that’s why Mr. Leinum and Ms. West are not here today or
                      were not charged in the indictment?

                   A. There was charging decisions made, and that may have factored
                      into it.

(Tr. Vol. VIII at 1743.) Of course, at this stage, the Government’s charging decisions are

“water under the bridge,” but they nonetheless provide helpful context in evaluating the

fairness of a defendant’s sentence compared to others similarly situated.

         I.        The need to provide restitution to any victims of the offense (3553(a)(7)).

         As with the Government’s loss calculation, the restitution obligation attributed to

Dudley is overstated. As Dudley urges in his objection and motion for departure, and as

acknowledged in the PSR, the loss attributed to Dudley may be far less and closer to the

restitution amounts provided for in the plea agreements of similarly-situated co-defendants


7
 They include Gene Leinum who had worked in the magazine industry for over 50 years
at multiple companies, Kimberly West who had worked in the industry for several years at
multiple companies and was recorded talking to an undercover agent, Daniel Kallhof who
was involved in over 19,200 sales, his wife Sheila Nord Kallhof, Dana Musgrove,
Nick Radcliff, Tim Hall, Montrell Pouncy, officer manager Tanesha Hatley, office
manager Tammy Moreno, and collections employee Eddie Epps who had worked for
Wayne Dahl before he was employed by Michelizzi. (Tr. Vol. VIII at 1740-1749; see also
Trial Exhs. Dudley-011 through 018 and Dudley 021.)

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who were telemarketers. See PSR at ¶217. West Side co-defendants Landsem and

McGarrity signed plea agreements providing for restitution amounts of $15,000 and

$100,000 respectively. Dudley has no financial assets and is not currently capable of

paying a criminal monetary obligation. (See PSR at ¶¶197-200.) Even a six-figure

restitution payment would certainly be impracticable.              Accordingly, Dudley urges a

restitution payment at the lower end of the range, and notes that a variance from any term

of imprisonment would facilitate his ability to pay restitution.

IV.      A FAIR AND REASONABLE SENTENCE

         Consideration of the 3553(b) factors strongly favors a time served sentence for

Dudley as a fair and reasonable outcome:

         o         A time served sentence is consistent with the sentences received by other

                   telemarketers charged in the case. More importantly, it is most consistent

                   with the Government’s plea offer immediately before Dudley’s trial.

         o         A time served sentence conforms with Dudley’s minimal role in the

                   fraudulent enterprise and his relative lack of significant responsibility for it.

         o         A time served sentence achieves the objectives of deterrence and protection

                   of the public. The Government conceded that its main objectives have been

                   achieved with the shutdown of the magazine companies and the prosecution

                   of their principals. Prior to this action, Dudley had never engaged in any

                   financial misconduct, and he poses no threat of harm.

         o         A time served sentence provides the most flexibility to support Dudley’s

                   rehabilitation by preserving his freedom to take advantage of treatment and

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                   counseling   programs,    economic      development   and    employment

                   opportunities, and group support and networking.

         The Government will likely resist leniency toward Dudley contending that he put

the Government to its burden of proof at trial, testified in his defense, and otherwise failed

to accept responsibility for his conduct. First, the Court should not punish a defendant for

exercising his right to receive a full and fair trial, and it retains the discretion to

acknowledge acceptance of responsibility even if a defendant chooses to go to trial. See

USSG §3E1.1, comment 2; United States v. Wilcox, 487 F.3d 1163, 1175-76 (8th Cir.

2007). Secondly, the Court should not enhance the sentence “simply because a defendant

testifies on his own behalf and the jury disbelieves him.” United States v. Garcia, 61 F.4th

628, 631 (8th Cir. 2023); see United States v. Dunnigan, 507 U.S. 87, 95 (1993) (noting

that a jury may find a defendant’s truthful testimony insufficient to prove lack of intent).

Finally, as noted supra, Dudley has expressed his remorse at trial, acknowledging the

financial hardship and pain caused by his conduct, and repeated his acceptance of

responsibility as part of the presentence investigation.




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                                     CONCLUSION

         For the foregoing reasons, the Court should grant Dudley’s motions for departure

and variance, and impose a sentence of time served accompanied by reasonable conditions

for supervised release.

Dated: June 17, 2024                      Respectfully submitted,


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